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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:16-cv-01006-RBJ

GEMALTO S.A.,

        Plaintiff,

v.

CPI CARD GROUP INC.,

        Defendant.


              JOINT MOTION FOR CLAIM CONSTRUCTION DETERMINATION


        Pursuant to the Revised Scheduling Order (Dkt. No. 76) and Markman v. Westview

Instruments, Inc., 52 F.3d 967 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S. 370 (1996), Plaintiff

Gemalto S.A. (“Gemalto”) and Defendant CPI Card Group Inc. (“CPI”) (together, “the Parties”)

submit this Joint Motion for Claim Construction Determination setting forth a proposed format

for the claim construction hearing set by the Court on July 13, 2017, beginning at 9 a.m. in

Courtroom A902 of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, CO

80294-3589.

        Pursuant to the original Scheduling Order (Dkt. No. 25), on December 16, 2016, the

Parties filed a Joint Disputed Claim Terms Chart (Dkt. No. 56) setting forth the disputed claim

terms of U.S. Patent No. 6,786,418 (“the ’418 patent”), the Parties’ proposed constructions, and

the Parties’ respective support for those constructions. Claim construction deadlines, among




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others, were subsequently modified by this Court’s order of April 10, 2017 (Dkt. No. 76) at

which point the parties agreed to file this motion on this date.

        The parties have narrowed the dispute to four claim terms and have now completed claim

construction briefing on two overlapping terms, the Parties jointly reserving argument regarding

the other two disputed terms until the July 13 hearing. See Dkt. No. 80 (CPI’s Opening Claim

Construction Brief, filed May 11, 2017), Dkt. No. 82 (Gemalto’s Response to CPI’s Opening

Claim Construction Brief, filed June 1, 2017), and Dkt. No. 83 (CPI’s Reply in support of

Opening Claim Construction Brief, filed June 8, 2017).

        With this Motion, the Parties submit a Joint Claim Construction Chart (Exhibit A) that

sets forth the remaining claim construction issues to be ruled upon by the Court, as well as

supporting evidence for the parties’ respective positions (Gemalto’s Exhibits P1-P11 and CPI’s

Exhibits D1-D9).

        The Parties propose the following with respect to the technology tutorial and claim

construction hearing:

        1.     Gemalto proposes that each party may, but does not have to, provide the Court

               with a brief background on the technology through counsel and/or an expert,

               lasting no more than 30 minutes, prior to the presentation of the Parties’

               respective claim construction positions. CPI believes that the Court is familiar

               with the technology and that the opportunity for a tutorial has passed.

        2.     Gemalto proposes the Parties address claim construction positions on a term-by-

               term basis, beginning with the first term that appears in the Joint Claim

               Construction Chart (“link”) and proceeding through each disputed term in order.

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              CPI’s position is that the hearing should begin with the indefiniteness issues set

              forth in its briefing, followed by argument regarding the remaining terms that

              were reserved for the hearing, on a term-by-term basis.

Dated: June 15, 2017.

OSHA LIANG LLP                                       Winston & Strawn LLP

s/ Peter C. Schechter                                s/ David S. Bloch
Peter C. Schechter, Esq.                             David S. Bloch
Tammy J. Dunn, Esq.                                  101 California Street
Monica M. Moussighi, Esq.                            San Francisco, CA 94111-5802
909 Fannin Street, Suite 3500                        Telephone: (415) 591-1000
Houston, TX 77010                                    Facsimile: (415) 591-1400
Tel | Fax: (713) 228-8600 | (713) 228-8778           Email: dbloch@winston.com
Email: Schechter@OshaLiang.com
         Dunn@OshaLiang.com                          Dustin Edwards
         Moussighi@OshaLiang.com                     Melinda K. Lackey
                                                     1111 Louisiana, 25th Floor
LEWIS ROCA ROTHGERBER CHRISTIE LLP                   Houston, TX 77002
                                                     Telephone: (713) 651-2600
s/ Kris J. Kostolansky                               Facsimile: (713) 651-2700
Kris J. Kostolansky, Esq.                            Email: dedwards@winston.com
Adam L. Massaro, Esq.                                Email: mlackey@winston.com
1200 17th Street, Suite 3000
Denver, Colorado 80202
Tel | Fax: (303) 623-9000 | (303) 623-9222
Email: kkosto@lrrc.com and
         amassaro@lrrc.com
                                                     Attorneys for Defendant CPI Card Group Inc.
Attorneys for Plaintiff Gemalto S.A.




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